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14   and OTTOMOTTO LLC

15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION
18   WAYMO LLC,                                           Case No.      3:17-cv-00939-WHA
19                         Plaintiff,                     DECLARATION OF ESTHER KIM
                                                          CHANG IN SUPPORT OF
20          v.                                            DEFENDANTS’ RESPONSE TO
                                                          WAYMO’S OBJECTIONS TO
21   UBER TECHNOLOGIES, INC.,                             EVIDENCE CITED IN
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    DEFENDANTS’ PRELIMINARY
22                                                        INJUNCTION SUR-REPLY
                           Defendants.
23                                                        Date:    May 3, 2017
                                                          Time:    7:30 a.m.
24                                                        Ctrm:    8, 19th Floor
                                                          Judge:   The Honorable William Alsup
25
                                                          Trial Date: October 2, 2017
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     CHANG DECLARATION ISO DEFENDANTS’ RESPONSE TO WAYMO’S OBJECTIONS TO EVIDENCE CITED IN
     DEFENDANTS’ PRELIMINARY INJUNCTION SUR-REPLY – CASE NO. 3:17-cv-00939-WHA
     Case 3:17-cv-00939-WHA Document 363-1 Filed 05/05/17 Page 2 of 3



 1          I, Esther Kim Chang, declare as follows:

 2          1.      I am an attorney with the law firm of Morrison & Foerster LLP. I am licensed to

 3   practice law in the State of California. I make this declaration based on personal knowledge and,

 4   if called as a witness, I could and would testify competently to the matters set forth herein. I

 5   make this declaration in support of Defendants’ Response to Waymo’s Objections to Evidence

 6   Cited in Defendants’ Sur-Reply.

 7          2.      On May 4, 2017, Waymo deposed James Haslim for over five and a half hours on

 8   the record, on both his opening and supplemental declarations, and the exhibits attached thereto.

 9          3.      Attached hereto as Exhibit A is a true and correct copy of excerpts of the

10   deposition transcript of Gregory Kintz, dated April 26, 2017.

11          I declare under penalty of perjury under the laws of the United States that the foregoing is

12   true and correct. Executed this 5th day of May, 2017, in San Francisco, California.

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                                                                  /s/ Esther Kim Chang
14                                                                 ESTHER KIM CHANG
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     CHANG DECLARATION ISO DEFENDANTS’ RESPONSE TO WAYMO’S OBJECTIONS TO EVIDENCE CITED IN
     DEFENDANTS’ PRELIMINARY INJUNCTION SUR-REPLY – CASE NO. 3:17-cv-00939-WHA
                                                                                                           1
     Case 3:17-cv-00939-WHA Document 363-1 Filed 05/05/17 Page 3 of 3



 1                             ATTESTATION OF E-FILED SIGNATURE

 2          I, Michael A. Jacobs, am the ECF User whose ID and password are being used to file this

 3   Declaration. In compliance with General Order 45, X.B., I hereby attest that Esther Kim Chang

 4   has concurred in this filing.

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 7   Dated: May 5, 2017                                      /s/ Michael A. Jacobs
                                                                 Michael A. Jacobs
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     CHANG DECLARATION ISO DEFENDANTS’ RESPONSE TO WAYMO’S OBJECTIONS TO EVIDENCE CITED IN
     DEFENDANTS’ PRELIMINARY INJUNCTION SUR-REPLY – CASE NO. 3:17-cv-00939-WHA
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